          Case 1:18-cr-00309-LMM-LTW Document 42-1 Filed 01/14/19 Page
                                                                  FILED 1IN of 1 COURT
                                                                            OPEN
                                                                                       U.S.D.C. Atlanta




ORIGINAL                        UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF GEORGIA

 UNITED STATES OF AMERICA                                 CASE NUMBER:
            v                                             (SUPERSEDING)
                                                                                   J:t8' Cfd. doso'i L~.,_,­
                                                                                                          LTw
CHALMER DETLING, II

                            Defen4ept'a 'ntry of a PLEA OF ROT GUILTY
                          and WAlVJ!iR OF APPEARAlfCB AT ARMIOJ!MWfT

       I hereby acknowledge that I am the defendant named above and 1 have received a copy of
the superseding indictment or information. I understand I have the right to appear personally
at my arraignment pursuant to Rule 43 of the Federal Rules of Criminal Procedure, and that I have
the right to have the superseding indictment or information read to me in open court pursuant
to Rule 10 of the Federal Rules of Criminal Procedure.
       I have discussed the charge(s) in the superseding indictment or information and the waiver
of appearance at arraignment with my attorney and I fully understand the nature of the offense(s)
charged and my right to appear at arraignment. Understanding my rights, I do hereby freely and
voluntarily waive my right to be present at my arraignment on the superseding indictment or
information and my right to have it read to me in open court.
       As evidenced by my signature below, I do hereby waive formal arraignment and enter my
                                                                                     u 1'-.
plea of NOT GUILTY to the superseding indictment or information t h i sI- - ' - - - - day of
   -:r ~t-J\A~'""t            '20 \ '1



                                                   SIGNATURE (Defendant)             c .

                             Jlll'ORllATIOR BBi.OW llU8T BB TYPBD OR PRDITBD

                                                   Chalmer Detling II
Name (Attorney for Defendant)                      Name (Defendant)
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  I 01 M~r.·ttt-... t't- NW                        188 Pinehurst Lane
Street Address                                     Street Address

                                                   Marietta, GA            30068
City & State                   Zip Code            City & State                            Zip Code

Phone Number:        Yo~ ~ tg' I'S""~ O            Phone Number:      404-663-5218


State Bar of Georgia Number __°l_~_P..._~__1____
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